40 F.3d 1244
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Thomas FABIANO, Defendant-Appellant.
    No. 93-5658.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 4, 1994.Decided Nov. 23, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frank A. Kaufman, Senior District Judge.  (CR-93-58-K)
      Thomas J. McNicholas, Baltimore, MD, for appellant.
      Lynne A. Battaglia, U.S. Atty., John V. Geise, Asst. U.S. Atty., Baltimore, MD, for appellee.
      D.Md.
      AFFIRMED.
      Before HALL and MOTZ, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's denial of his motion to withdraw his guilty plea.  We affirm the district court's denial of the motion to withdraw the plea.
    
    
      2
      A guilty plea is invalid if the defendant does not comprehend his constitutional protections and the charges lodged against him.   Henderson v. Morgan, 426 U.S. 637, 645 n. 13 (1976).  Moreover, due process requires that a defendant be legally competent to plead guilty.   Roach v. Martin, 757 F.2d 1463, 1480 (4th Cir.), cert. denied, 474 U.S. 865 (1985);   Shaw v. Martin, 733 F.2d 304, 314 (4th Cir.), cert. denied, 469 U.S. 873 (1984).  The plea is invalid if a defendant's mental capacities are so impaired as to interfere with his ability to appreciate the charges against him, understand his constitutional rights, and realize the consequences of his plea.   United States v. Truglio, 493 F.2d 574, 578 (4th Cir.1974).  This Court reviews a district court's decision on a motion to withdraw a guilty plea for abuse of discretion.   United States v. Lambert, 994 F.2d 1088, 1093 (4th Cir.1993).  The district court's factual findings in support of its decision to deny the motion will be overturned only if they are clearly erroneous.   United States v. Suter, 755 F.2d 523, 525 (7th Cir.), cert. denied, 471 U.S. 1103 (1985).
    
    
      3
      Our review of the record discloses that the district court's factual finding that Appellant's guilty plea was knowingly and voluntarily entered is not clearly erroneous.  The district court's finding on this issue is fully supported by Appellant's responses during the Fed.R.Crim.P. 11 colloquy.   See generally United States v. DeFusco, 949 F.2d 114, 116-17 (4th Cir.1991), cert. denied, 60 U.S.L.W. 3717 (U.S.1992).  Consequently, we affirm.
    
    
      4
      We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    